       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 1 of 32                FILED
                                                                            2019 Mar-27 AM 08:28
                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION


COBBLESTONE CONDOMINIUM                 }
ASSOCIATION, INC.,                      }
                                        }
      Plaintiff                         }
                                        }
v.                                      }   Case No.: 5:16-cv-00573-MHH
                                        }
TRAVELERS CASUALTY                      }
INSURANCE COMPANY OF                    }
AMERICA,                                }
                                        }
      Defendant.                        }

                   MEMORANDUM OPINION AND ORDER

      This diversity action involves an insurance coverage dispute.     Plaintiff

Cobblestone Condominium Association bought an insurance policy from

defendant Travelers Casualty Insurance Company of America that provided

damage coverage for its condominiums. Cobblestone filed two claims under the

policy, the first relating to building damage from a fire and the second to roof

damage from a storm. The parties agree that both claims are covered under the

insurance policy. Cobblestone invoked the policy’s appraisal provision after the

parties could not agree on a damage amount for the two claims, but the appraisal
          Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 2 of 32



process went awry, and Cobblestone filed this lawsuit alleging breach of contract

and bad faith. 1
               0F




       Cobblestone seeks partial summary judgment on its breach of contract

claims, asking the Court to find as a matter of law that Travelers was required to

participate in the appraisal process on the fire and roof claims under the terms of

the insurance policy but failed to do so. (Doc. 51). Travelers asks the Court to

enter judgment in its favor with respect to Cobblestone’s breach of contract and

bad faith claims. (Doc. 48). For the reasons described below, the Court grants

Cobblestone’s motion as to the fire claim only, and it denies Travelers’s motion

except as to Cobblestone’s claim of bad faith regarding the roof.

     I.    STANDARD OF REVIEW

       “The court shall grant summary judgment if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” Fed. R. Civ. P. 56(a). To demonstrate that there is a genuine

dispute as to a material fact that precludes summary judgment, a party opposing a

motion for summary judgment must cite “to particular parts of materials in the

record, including depositions, documents, electronically stored information,

affidavits or declarations, stipulations (including those made for purposes of the
1
 Pursuant to Federal Rule of Civil Procedure 41(a)(2), Cobblestone filed a motion to voluntarily
dismiss without prejudice additional claims for specific performance and fraud. (Doc. 61).
Travelers filed a response to Cobblestone’s motion, requesting that the Court dismiss
Cobblestone’s claims with prejudice. (Doc. 62). By separate order, the Court dismissed
Cobblestone’s specific performance and fraud claims with prejudice. (See Docket Entry 65).
                                               2
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 3 of 32



motion only), admissions, interrogatory answers, or other materials.” Fed. R. Civ.

P. 56(c)(1)(A).

      When considering a motion for summary judgment, a district court must

view the evidence in the record in the light most favorable to the non-moving party

and draw reasonable inferences in favor of the non-moving party.           White v.

Beltram Edge Tool Supply, Inc., 789 F.3d 1188, 1191 (11th Cir. 2015).            “A

litigant’s self-serving statements based on personal knowledge or observation can

defeat summary judgment.” United States v. Stein, 881 F.3d 853, 857 (11th Cir.

2018); see Feliciano v. City of Miami Beach, 707 F.3d 1244, 1253 (11th Cir. 2013)

(“To be sure, Feliciano’s sworn statements are self-serving, but that alone does not

permit us to disregard them at the summary judgment stage.”). Even if a district

court doubts the veracity of the evidence, the court cannot make credibility

determinations of the evidence; that is the work of a factfinder. Feliciano, 707

F.3d at 1252 (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986)).

Still, conclusory statements in a declaration cannot by themselves create a genuine

issue of material fact. See Stein, 881 F.3d at 857 (citing Lujan v. Nat’l Wildlife

Fed’n, 497 U.S. 871, 888 (1990)).

      Cross motions for summary judgment do not alter the Rule 56 standard. See

United States v. Oakley, 744 F.2d 1553, 1555-56 (11th Cir. 1984) (“Cross motions

for summary judgment will not, in themselves, warrant the court in granting


                                         3
         Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 4 of 32



summary judgment unless one of the parties is entitled to judgment as a matter of

law on facts that are not genuinely disputed.”). “In practice, cross motions for

summary judgment may be probative of the nonexistence of a factual dispute, but

this procedural posture does not automatically empower the court to dispense with

the determination whether questions of material fact exist.” Georgia State

Conference of NAACP v. Fayette Cty. Bd. of Comm’rs, 775 F.3d 1336, 1345 (11th

Cir. 2015) (quoting Lac Courte Oreilles Band of Lake Superior Chippewa Indians

v. Voigt, 700 F.2d 341, 349 (7th Cir. 1983)) (internal quotation marks and brackets

omitted). “If both parties proceed on the same legal theory and rely on the same

material facts ... the case is ripe for summary judgment.” NAACP, 775 F.3d at

1345 (quoting Shook v. United States, 713 F.2d 662, 665 (11th Cir. 1983)) (internal

quotation marks omitted) (alteration supplied by NAACP).

   II.    SUMMARY JUDGMENT EVIDENCE

      Cobblestone is an association of condominium homeowners in Huntsville,

Alabama. (Doc. 45-1, pp. 2-3; Doc. 45-3, p. 5, tr. p. 14). Cobblestone’s property

consists of 26 residential two-story buildings, each with four downstairs and four

upstairs units. (Doc. 46-10, p. 4; Doc. 46-11, pp. 25-27). Travelers issued a

condominium-homeowners insurance policy to Cobblestone. (Doc. 55, p. 4). The

policy covered all of the condominium units in the Cobblestone complex during

the coverage period. (See Doc. 45-1). It is undisputed that Cobblestone paid its


                                        4
        Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 5 of 32



premiums for the relevant coverage year and that the insurance policy was in full

force and effect when the two incidents in question took place. (Doc. 37, pp. 1, 2,

¶¶ 1, 5; Doc. 55, p. 4).

      In 2015, Cobblestone made two separate claims under the insurance policy

regarding physical damage to its condominiums. The first claim stemmed from a

fire, and the second claim concerned roof damage resulting from hail and wind in a

storm. (Docs. 46-10, 46-11). The parties do not dispute that the policy provides

coverage for the two losses. (Doc. 55, p. 4).

      Cobblestone’s insurance policy contains an appraisal provision. (Doc. 55, p.

4; Doc. 45-1, p. 64). In the insurance context, appraisal is a dispute resolution

technique wherein a representative for each party works with an umpire to resolve

disputes concerning the amount of an insured’s loss. (Doc. 45-1, p. 64). The

appraisal provision of the insurance policy states:

   E. PROPERTY LOSS CONDITIONS:
      ...
      4. Legal Action Against Us
             If we and you disagree on the value of the property, the amount
             of Net Income and operating expense or the amount of loss,
             either may make written demand for an appraisal of the loss. In
             this event, each party will select a competent and impartial
             appraiser. The two appraisers will select an umpire. If they
             cannot agree, either may request that selection be made by a
             judge of a court having jurisdiction. The appraisers will state
             separately the value of the property, the amount of Net Income
             and operating expense or the amount of loss. If they fail to
             agree, they will submit their differences to the umpire. A

                                          5
           Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 6 of 32



                 decision agreed to by any of the two will be binding. Each
                 party will:
                 a.   Pay its chosen appraiser;
                 b. Bear the other expenses of the appraisal and         umpire
                    equally.

(Doc. 45-1, p. 64). Travelers initially agreed to submit Cobblestone’s fire claim to

appraisal, but Travelers later withdrew from the appraisal process. (Doc. 55, p. 5).

With respect to Cobblestone’s roof claim, Travelers rejected Cobblestone’s

demand for appraisal as premature. (Doc. 55, p. 5).

             A. The Fire Claim

          On February 17, 2015, a fire occurred in Building T of the Cobblestone

complex. (Doc. 46-10; Doc. 45-3, p. 11, tr. p. 37; Doc. 45-4, p. 50). The fire

destroyed four units and seriously damaged four additional units within Building

T. (Doc. 46-10). 2 On March 26, 2015, Travelers estimated that the “replacement
                      1F




cost value” to restore Building T to its pre-loss condition would be $826,047.78.

(Doc. 45-15, p. 2). After deducting amounts for depreciation, Travelers paid

Cobblestone an “actual cash value” on the fire claim of $649,424.73. (Doc. 55, p.

4). 32F   Travelers indicated that the amount withheld for depreciation would be


2
    Building T has since been demolished. (See Doc. 51, p. 4).
3
  “Replacement cost value” refers to the amount one would expect to pay to replace or rebuild a
similar property at today’s cost, without deducting for depreciation.                      See
www.aldoi.gov/Consumers/Basic Coverages.aspx (Alabama Department of Insurance website).
“Actual cash value” reflects an amount equal to the replacement cost minus depreciation. (Id.).
Cobblestone does not seem to challenge Travelers’s application of actual cash value as opposed
to replacement cost value under the policy, but Cobblestone contends generally that Travelers
                                                 6
         Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 7 of 32



payable upon completion of repairs up to the actual amount spent for the repairs.

(Doc. 45-15, p. 2). During its investigation of the fire loss, Travelers obtained a

“Marshall & Swift” report, dated March 16, 2015, which estimated a total “ground

up” reconstruction cost for Building T at $1,167,060. (See Doc. 45-4, p. 35, tr. pp.

134-35). 43F




       On April 1, 2015, Cobblestone retained The Howarth Group to represent it

with respect to the fire claim. (Doc. 45-20, p. 2). One week later, The Howarth

Group demanded appraisal of the fire loss under the insurance policy. (Doc. 45-

21, p. 2). Without providing details to Travelers, The Howarth Group stated that

Cobblestone had “several differences with the settlement offer provided by

[Travelers].” (Doc. 45-21, p. 2). Chuck Howarth of The Howarth Group later

testified that Travelers’s estimate omitted numerous basic items such as plumbing

supply lines, paint, primer, framing, electrical wiring, outlets, switches, and panel

boxes, among other items necessary to restore Building T to its pre-loss condition

and to bring the building into compliance with city building codes:

       It was obvious that the . . . estimate on which [Travelers relied] left a
       lot of damage out. There’s holes in the estimate that are surprising.
       There are things – there are parts of the building he just left out. And
       this is the kind of stuff that a first-year adjustor would not leave out.
       This was a surprise to me. And those errors were duplicated room


did not cover the full amount of its losses under the policy.
4
  Marshall & Swift is a recognized service that insurers frequently consult when estimating
construction costs. (Doc. 45-4, p. 35, tr. p. 134).
                                                 7
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 8 of 32



      after room after room. . . . [W]e agreed on the general work. Just put
      the stuff you left out in the estimate.

(Doc. 50-17, p. 17, tr. p. 63; see pp. 17-25, tr. pp. 63-103).

      On April 16, 2015, Travelers rejected Cobblestone’s demand for appraisal as

premature. (Doc. 45-22, pp. 2-3). Travelers explained that Cobblestone had not

“presented its formal claim for damages,” leaving it “unable to identify any

differences that may exist with our offer and Cobblestone’s claim.” (Doc. 45-22,

p. 2). On June 9, 2015, The Howarth Group provided Travelers with a proof of

loss and estimate on the fire claim, which reflected a replacement cost value of

$1,129,388.57 and an actual cash value of $993,861.94. (Doc. 45-23, pp. 2-172).

Arthur Grandinetti prepared the estimate on behalf of The Howarth Group. (Doc.

45-23, p. 2). One week later, Travelers rejected Mr. Grandinetti’s estimate: “we

must reject the proof of loss since we are not in agreement on the amount of the

damages.” (Doc. 45-24, p. 2). Travelers cited the estimate’s omission of an actual

cash value and requested additional information. (Doc. 45-24, p. 2). Cobblestone

denied Travelers’s request and insisted on proceeding with appraisal. (Doc. 45-25,

p. 2). On July 6, 2015, Travelers responded to Cobblestone’s request to continue

with appraisal: “we are in agreement to proceed with the appraisal process at this

time. We have retained Harrison Jones . . . as our appraiser.” (Doc. 45-26, p. 2).

On July 17, 2015, Travelers and Cobblestone formally submitted the fire claim to



                                           8
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 9 of 32



appraisal. (Doc. 50-2, p. 2). The parties mutually agreed to the appointment of

Dale Mullin as the umpire. (Doc. 50-3, p. 2).

      While the parties engaged in appraisal conversations, Cobblestone hired an

architectural and engineering firm, Bird and Kamback, LLC, to create plans to

rebuild Building T and to secure bids for the construction. (Doc. 45-27, pp. 37-

40). Cobblestone asserts that it retained Bird and Kamback in an effort to comply

with multiple citations from the City of Huntsville requiring that Cobblestone

either tear down the damaged building or produce blue prints with plans for

rebuilding. Cobblestone also wanted to “have an available contractor ready to

begin construction once the umpire awarded damages [through appraisal].” (Doc.

26, p. 4; see Doc. 26-7, p. 4, ¶¶ 11-12).          Travelers does not dispute that

Cobblestone was permitted to seek out contractors and to secure bids in

anticipation of construction. (Doc. 50-13, p. 10, tr. p. 36).

      On October 6, 2015, Mr. Grandinetti and Mr. Jones, as appraisers for

Cobblestone and Travelers, respectively, met with the umpire at the Cobblestone

property to conduct a walk-through. (Doc. 45-33, p. 19, tr. p. 69). Mr. Jones

testified that several weeks before the onsite meeting, he learned that Cobblestone

was soliciting bids on the project through an architect and engineering firm. (Doc.

45-33, p. 19, tr. pp. 70-71). After the topic of the bids surfaced, the parties




                                           9
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 10 of 32



discontinued the meeting pending submission and production of the bids. (Doc.

45-33, pp. 20, 23, tr. pp. 75-76, 87-88; Doc. 45-11, p. 17, tr. pp. 62-63).

      On October 9, 2015, Bird and Kamback received sealed bids from local

contractors. (Doc. 46-27, p. 2, ¶ 4; Doc. 46-28, p. 1, ¶ 1; Doc. 46-29, p. 3, ¶ 6;

Doc. 47-1, p. 2, ¶ 4). On October 12, 2015, Travelers requested copies of the bids.

(Docs. 45-35, 46-3).      Chris Scaife, president of Cobblestone’s homeowners

association, declined to produce the bids and instead instructed Bird and Kamback

to return the bids unopened to the bidders. (Doc. 46-2, p. 2). Mr. Scaife testified

that Cobblestone did not open the bids and that Cobblestone returned the sealed

bids to the bidders. (Doc. 45-12, p. 38, tr. pp. 146-48). Mr. Scaife explained in an

email to Bird and Kamback:

      We had assumed the Referee in the independent appraisal would have
      had his final meeting with both sides before the bids were due. The
      meeting did not take place until afterwards as it was rescheduled a
      couple / few times. Your specs were based on insurance information
      to ensure we did not overspec the project and obtain offers that were
      over and above our final settlement amount. We need to settle with
      the insurer before we determine the price payable to the contractors.
      We don’t want the referee to request the bid packages and award us a
      dollar amount based on the lowest compliant offer.

      Please advise the offerors that we are awaiting settlement with the
      insurance company and don’t want to hold onto offers that have
      expired. We also don’t want them to believe that we opened their
      offers and are trying to conduct an auction. Returning their packages
      to them unopened will give them the surety that we have not favored
      one over the other.

(Doc. 46-2, p. 2).
                                          10
      Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 11 of 32



      On October 29, 2015, Travelers wrote to Cobblestone, stating:

      Until we receive the [bid] documents and have an opportunity to
      review them were are not in position to go further with the appraisal
      on the building.

(Doc. 46-3, p. 2). On November 11, 2015, Travelers followed up on its requests

for the bids and informed Cobblestone that it was “suspending the appraisal

process pending receipt and an opportunity to review the previously requested

documents that we have not yet received.” (Doc. 46-4, p. 2). Cobblestone’s fire

claim has lay dormant since Travelers withdrew its participation from the appraisal

process.

           B. The Roof Claim

      In June of 2015, a thunderstorm with high winds and hail damaged roofs in

the Cobblestone complex. (Doc. 46-11, pp. 25-30). Cobblestone filed a claim

under its insurance policy with Travelers. (Doc. 45-11). The parties dispute the

number of roofs impacted—Cobblestone contends that the roofs of all 26 buildings

in the complex were damaged while Travelers maintains that the roofs of only

eight buildings suffered damage.     (Doc. 51, p. 3, n. 2).   On June 24, 2015,

Travelers inspected approximately half of the roofs in the complex. (Doc. 50-8, p.

7, tr. p. 20). Twenty-two of the roofs were replaced in 2009 pursuant to a separate

storm damage claim, (Doc. 46-12, pp. 5-6; see Docs. 46-13, Doc. 46-14), and,

according to Travelers’s adjuster, the newer roofs did not need to be replaced,


                                        11
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 12 of 32



(Doc. 50-8, p. 20, tr. pp. 20-21). Following Travelers’s inspection, the company

agreed to repair damaged shingles on eight roofs in the complex using a hand-seal

or gluing process. (Doc. 45-12, p. 11, tr. p. 38; Doc. 46-16, pp. 1-13). Travelers

initially paid Cobblestone $17,238.55 on the roof claim, which included a $1,000

deductible. (Doc. 46-16, p. 9, Doc. 45-12, p. 11, tr. pp. 37-38).

      After receiving Travelers’s estimate, Cobblestone retained Superior Roofing

to provide an estimate. (Doc. 45-12, pp. 12-13, tr. pp. 43-45). Superior Roofing

examined the damaged roofs on August 5, 2019 and determined that the roofs

could not be repaired using the hand-seal or gluing method proposed by Travelers.

(Doc. 45-12, p. 11, tr. p. 38). Superior Roofing estimated that it would cost

$121,280.00 to repair the roofs. (Doc. 46-18, p. 2; Doc. 45-12, p. 5).

      On August 25, 2015, Cobblestone demanded appraisal on the roof claim.

(Doc. 46-19, p. 2). Travelers did not submit to appraisal but instead agreed to pay

the Superior Roofing estimate at a replacement cost value of $114,466.88. (Doc.

46-20, p. 11; Doc. 45-12, p. 15, tr. p. 54). After depreciation, Travelers paid

Cobblestone $57,798.50 on the roof claim. (Doc. 45-12, p. 15, tr. p. 54; Doc. 45-

13, p. 16). On September 17, 2015, Cobblestone demanded appraisal on the roof

claim for a second time and advised that The Howard Group would serve as its

appraiser. (Doc. 46-22, pp. 2-3). Travelers responded on December 2, 2015,

rejecting Cobblestone’s demand for appraisal as premature. (Doc. 46-23, pp. 2-3).


                                         12
         Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 13 of 32



Travelers explained that Cobblestone had not “presented its formal claim for

damages as a result of wind damage,” leaving it “unable to identify any differences

that may exist with our offer and Cobblestone’s claim.” (Doc. 46-23, p. 2). The

Howarth Group retained an expert, Dr. Neil B. Hall, Ph. D., to assess the roof

damage. (Doc. 46-25, p. 8, tr. p. 27). Based on a report prepared by Dr. Hall, The

Howarth Group estimated a replacement cost value of $596,507.38 to repair the

roofs.      (Doc. 46-24, pp. 2-33).        On March 1, 2016, Travelers rejected

Cobblestone’s demand for appraisal on the roof claim and sought to re-inspect the

roofs. (Doc. 45-26, pp. 2-3). Cobblestone filed this action On March 7, 2016.

(Doc. 1-1).

            C. Policy Provisions

         In addition to the appraisal provision, noted at page 7 above, the following

policy provisions are at issue in this case:

   E. PROPERTY LOSS CONDITIONS:
      ...
      3. Duties in the Event of Loss or Damage
               a.     You must see that the following are done in the event of
                     loss or damage to Covered Property:
                    ...
                    (6) As often as may be reasonably required, permit us to
                        inspect the property proving the loss or damage and
                        examine your books and records
                    ...
                    (9) Cooperate with us in the investigation and settlement of
                        the claim.

                                            13
          Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 14 of 32



   F. COMMERCIAL PROPERTY CONDITIONS
           1. Concealment, Misrepresentation or Fraud
               a. This Coverage Form
               b. The Covered Property
               c. Your Interest in the Covered Property
               d. A claim under this Coverage Form
           ...
           4. Legal Action Against Us
               No one may bring a legal action against us under this Coverage
               Form unless:
               a. There has been full compliance with all of the terms of this
                  Coverage Form; and
               b. The action is brought within 2 years after the date on which
                  the direct physical loss or damage occurred

(Doc. 45-1, pp. 64-65, 70).

     I.     DISCUSSION

       Alabama law governs Cobblestone’s state law claims in this action.

Gasperini v. Ctr. for Humanities, Inc., 518 U.S. 415, 427 (1996) (a federal district

court sitting in diversity must apply “state substantive law and federal procedural

law[]”); O’Neal v. Kennamer, 958 F.2d 1044, 1046 (11th Cir. 1992) (“A federal

court in a diversity case is required to apply the laws . . . of the state in which the

federal court sits.”).

            A. Breach of Contract Claim

       Under Alabama law, “[g]eneral rules of contract law govern an insurance

contract.”     Safeway Ins. Co. of Ala. v. Herrera, 912 So. 2d 1140, 1143 (Ala.

2005). Courts must “enforce the insurance policy as written if the terms are

                                          14
      Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 15 of 32



unambiguous.” Safeway, 912 So. 2d at 1143. When a party contends that a term

in a policy is ambiguous, a court must ask “what a reasonably prudent person

applying for insurance would have understood the term to mean.” Safeway, 912

So. 2d at 1144 (internal quotations omitted). “This means that the terms of an

insurance policy should be given a rational and practical construction.” Porterfield

v. Audubon Indem. Co., 856 So. 2d 789, 799 (Ala. 2002). Insurance policies “shall

be construed liberally in favor of the insured and strictly against the insurer.”

Allstate Ins. Co. v. Skelton, 675 So. 2d 377, 379-380 (Ala. 1996). Any “doubt or

uncertainty” as to the meaning of a contract term must be interpreted against the

insurer that drafted the policy. Upton v. Miss. Valley Title Ins. Co., 469 So. 2d

548, 555 (Ala. 1985) (internal quotation omitted).

      To establish a breach of contract claim under Alabama law, Cobblestone

must show “(1) the existence of a valid contract binding the parties in the action,

(2) [it’s] own performance under the contract, (3) the defendant’s nonperformance,

and (4) damages.” Southern Med. Health Systems, Inc. v. Vaughn, 669 So. 2d 98,

99 (Ala. 1995) (citing McGinney v. Jackson, 575 So. 2d 1070, 1071-72 (Ala.

1991)).    “A nonperformance must be ‘material,’ which means that the

nonperformance undermined the parties’ objectives in making the contract.” Cole

v. Owners Ins. Co., 326 F. Supp. 3d 1307, 1321 (N.D. Ala. 2018) (citing Sokol v.

Bruno’s, Inc., 527 So. 2d 1245, 1247-48 (1988)). The law implies a duty of good


                                        15
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 16 of 32



faith and fair dealing in every contract. Shoney’s LLC v. MAC East, LLC, 27 So.

3d 1216, 1220, n. 5 (Ala. 2009). This “implied covenant” requires that “neither

party shall do anything which will have the effect of destroying or injuring the

rights of the other party to receive the fruits of the contract.” Shoney’s, 27 So. 2d

at 1220, n. 5 (quoting Sellers v. Head, 73 So. 2d 747, 751 (1954)).

              1. The Fire Claim
      With respect to the fire claim, Travelers challenges Cobblestone’s breach of

contract claim on four grounds. First, Travelers argues that Cobblestone did not

perform under the policy because Cobblestone did not produce the bids

Cobblestone obtained for the restoration and/or rebuilding of Building T. Second,

Travelers argues that the policy is void because Cobblestone intentionally

concealed the bids. Third, Travelers argues that Cobblestone did not perform

under the policy because Cobblestone did not identify an impartial appraiser as

required by the appraisal provision in the contract. Fourth, Travelers argues that

appraisal was not appropriate under Alabama law because questions of coverage

and causation exist. Cobblestone argues that it properly performed and fulfilled its

obligations under the policy, that its failure to produce the bids did not amount to a

material breach of the contract, that its appraiser is impartial, and that coverage and

causation are not in dispute because Travelers admits that fire is a covered loss

under the policy.


                                          16
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 17 of 32



          a. Cobblestone’s Post-Loss Obligations

       In support of the contention that Cobblestone’s failure to produce the bids

excused Travelers from the appraisal process, Travelers cites Alabama state court

cases and several district court cases applying Alabama law that stand for the

general proposition that an insured has duties under an insurance policy and the

insured must comply with those duties before the insurer must provide coverage

for a loss. 5 For example, courts have recognized that an insurer may request an
           4F




examination under oath or an itemized list of damages as a condition precedent to

coverage. See, e.g., Nilsen, 745 So. 2d at 267-68 (failure of insured to submit to

examination under oath); Cope, 630 So. 2d at 411-12 (failure of insured to provide

written proof of loss); Akpan, 961 So. 2d at 872 (failure of insured to submit to

examination under oath); Hillery, 705 F. Supp. 2d at 1364 (failure of insured to

provide itemization of losses); Morton, 102 F. Supp. 3d at 1261-62 (failure of

insured to submit as many as ten categories of claims information and failure to

submit to examination under oath); Pittman, 868 F. Supp. 2d at 1348-49 (failure to

produce banking and credit card information related to allegedly stolen artwork

and jewelry).


5
 See, e.g., Baldwin Mut. Ins. Co. v. Adair, 181 So. 3d 1033 (Ala. 2014); Nationwide Ins. Co. v.
Nilsen, 745 So. 2d 264 (Ala. 1998); United Ins. Co. of America v. Cope, 630 So. 2d 407 (Ala.
1993); Akpan v. Farmers Ins. Exch., Inc., 961 So. 2d 865 (Ala. Civ. App. 2007); Hillery v.
Allstate Indem. Co., 705 F. Supp. 2d 1343 (S.D. Ala. 2010); Morton v. Automobile Ins. Co. of
Harford, Conn., 102 F. Supp. 3d 1248 (N.D. Ala. 2015); Pittman v. State Farm Fire and Cas.
Co., 868 F. Supp. 2d 1335 (M.D. Ala. 2012), aff’d 519 Fed. Appx. 656 (11th Cir. May 20, 2013).
                                              17
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 18 of 32



      The cases that Travelers cites do not address the question presented here,

namely whether an insured has a continuing obligation to provide information to

an insurer after the insurer has fully investigated a claim, determined that coverage

exists, reached its valuation of the damage, and agreed to submit the claim to

appraisal.   Only one of the cases that Travelers cites, Baldwin, concerns an

appraisal provision. In Baldwin, more than 100 insureds demanded appraisal under

an insurance policy, even though most of the insureds had not provided notice of

their claims or basic information concerning their losses to the insurer. Based on

these facts, the Alabama Supreme Court determined that appraisal was not

appropriate because the insureds had not sufficiently complied with their post-loss

obligations to trigger coverage. Without additional information about the insureds’

claimed losses, the insurer could not determine whether a dispute existed as to the

amount of the losses. The Alabama Supreme Court noted:

      [O]f the approximately 130 insureds, only 14 have provided even
      some of the documentation BMIC requested in its investigation of the
      claimed losses. Even the 14 insureds who have provided some
      documentation, however, have failed to submit to an examination
      under oath as BMIC has requested. … Although perhaps helpful, the
      submitted information does not provide BMIC with all the
      information to which it is entitled under the terms of the insureds’
      policies, and the insureds responses fall far short of completion of the
      duties required to trigger BMIC’s duty to make an offer to settle the
      insured’s claim for a particular amount in addition to the amount to
      which the insured apparently had previously agreed. We do not see
      how the parties can engage one another in a dispute over the amount
      of loss involved, and go even further to invoke an administrative
      process for resolving that dispute, unless and until (1) the insureds
                                         18
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 19 of 32



      have provided the required notice of loss, including the basis for each
      insured’s claimed loss and its value, and (2) the insureds have
      permitted BMIC to investigate and verify the claimed losses, as
      allowed under the terms of the respective policies.

Baldwin, 181 So. 3d at 1044.

      Unlike the insureds in Baldwin, Cobblestone provided Travelers information

about the fire claim that allowed Travelers to determine whether coverage existed.

Travelers prepared an estimate and agreed that a dispute existed between the

parties sufficient to warrant submission of the claim to appraisal. Travelers cannot

complain now that Cobblestone breached its obligation to provide information to

trigger an appraisal. The parties entered a sworn agreement to submit the claim to

appraisal. Because the parties reached the point of submitting Cobblestone’s claim

to appraisal, Travelers necessarily agreed that Cobblestone had performed under

the policy.

      Thus, Cobblestone’s failure to produce the sealed bids after Travelers agreed

to submit the claim to appraisal does not amount to a material breach of

Cobblestone’s obligations to supply loss information to trigger an appraisal.

          b. Intentional Concealment

      Cobblestone’s policy states that coverage is void “in any case of fraud” or if

an insured “intentionally conceal[s] or misrepresent[s] a material fact concerning

. . . [t]he Covered Property [or]. . . a claim under this Coverage Form.” (Doc. 45-1,

p. 69). Alabama Code § 27-14-28 states that “[n]o misrepresentation in any proof

                                         19
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 20 of 32



of loss under any insurance policy shall defeat or void the policy unless such

representation is made with actual intent to deceive as to a matter material to the

insured’s rights under the policy.”     Alabama Code § 27-14-28 (1975).          The

Alabama Supreme Court has held that all insurance contracts must be construed to

include this statutory expression of public policy. Ex parte State Farm and Cas.

Co., 525 So. 2d 119, 120-21 (Ala. 1988).

      Courts have applied fraud and misrepresentation exclusions in cases

involving fraudulent proofs of loss, such as where an insured claims as a loss an

item that the insured never possessed or a loss that the insured caused by, for

example, arson or another criminal act. See. e.g., Auto Club Family Ins. Co. v.

Mullins, No. 5:11-cv-1452, 2012 WL 6043652, *7-8 (N.D. Ala. Nov. 29, 2012)

(jury question concerning insured’s misrepresentation with intent to deceive where

evidence showed that insured homeowner caused the fire loss); Anthony v. Allstate

Insurance Co., No. 06-RRA-2122-M, 2008 WL 11380100, *5 (N.D. Ala Sept. 19,

2008) (“[M]isrepresentations concerning the value of the contents of the home are

material to the contents claim.”).

      Travelers argues that the bids Cobblestone obtained are material and that

Cobblestone’s concealment of the bids voids the policy. But Cobblestone obtained

the bids several months after the parties already had agreed to submit the fire claim

to appraisal.   By the time Cobblestone had obtained the bids, Travelers had


                                         20
        Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 21 of 32



investigated the fire loss, prepared its own estimate, and determined that a dispute

existed with Cobblestone as to the amount of the loss. The policy did not forbid

Cobblestone from hiring an architect or seeking bids in preparation for

construction while Cobblestone’s coverage claim was in the appraisal process.

There is no evidence that Cobblestone waited to obtain the bids in an effort to

deprive Travelers of information concerning the claim.         Rather, Cobblestone

sought the bids after the City of Huntsville cited Cobblestone and demanded that

Cobblestone either tear down the damaged building or produce blueprints and

plans for rebuilding the structure.    Mr. Scaife testified that he instructed the

architect to limit the plans to the amount of Travelers’s initial estimate with the

understanding that the scope of work could expand if Cobblestone was successful

in the appraisal process. Mr. Scaife explained that he did not want to produce the

bids to Travelers because the bids necessarily were limited by Travelers’s initial

estimate. The Court also notes that Mr. Jones was aware of the bids prior to the

October 6 meeting with Cobblestone’s appraiser and the mutually selected umpire

at the site.

       Travelers’s interest in seeing the bids is understandable, but Cobblestone had

no obligation under the policy to disclose the bids. Cobblestone’s refusal to share

the bids therefore does not amount to concealment. See Turner v. Liberty National

Fire Ins. Co., 681 So. 2d 589, 591-92 (Ala. Civ. App. 1996) (finding intentional


                                         21
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 22 of 32



concealment where insured concealed or misrepresented relevant facts regarding

fire loss such as the date of the fire, ownership of other home (which potentially

would affect coverage), and the cash value of the insured structure and its

contents).

          c. Impartiality of Cobblestone’s Appraiser

       Travelers argues that Cobblestone failed to appoint an impartial appraiser as

required by the appraisal provision under the insurance policy, and that this

excused Travelers’s performance under the contract. The fee agreement between

Cobblestone and The Howarth Group provided for an hourly rate with a cap and a

contingency that The Howarth Group would not recover a fee unless the appraisal

yielded an award in excess of Travelers’s initial estimate.              Travelers has not

identified Alabama case law providing that such an arrangement automatically

renders an appraiser impartial. The Court has not identified guidance from

Alabama courts as to whether the contingency in the fee agreement here is

acceptable. Therefore, the Court finds that Travelers has not demonstrated that

Cobblestone failed to select an impartial appraiser. 6 Viewing the facts in a light
                                                          5F




most favorable to Cobblestone, Travelers has not produced evidence that its


6
  The Court notes that even if Travelers had demonstrated that The Howarth Group was not
impartial, concerns regarding Cobblestone’s selected appraiser could have been raised with a
court of competent jurisdiction per the appraisal provision in Travelers’s policy. See, e.g.,
Verneus v. Axis Surplus Ins. Co., 2018 WL 4150933, * 4 (S.D. Fla. August 29, 2018) (granting
insurer’s motion to strike insured’s appraiser on grounds that appraiser was not impartial and
providing plaintiff with an opportunity to designate another appraiser).
                                             22
      Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 23 of 32



performance under the contract was excused based on Cobblestone’s choice of

appraiser.

         d. Appropriateness of Appraisal

      Relying on hindsight, Travelers argues, alternatively, that appraisal was

premature because questions of coverage and causation existed.      Travelers cites

Rogers v. State Farm Fire & Cas. Co., 984 So. 2d 382 (Ala. 2007), to support the

proposition that appraisal is appropriate only to determine the amount of a loss and

not to determine questions of coverage and causation. This is a correct statement

of the law, but Travelers’s reliance on Rogers is misplaced.        In Rogers, the

Alabama Supreme Court held that an appraiser may not resolve disputes

concerning the cause of a loss and whether that loss was covered under the policy.

In that case, the appraiser could not determine whether the insured’s home was

damaged by a tornado, which was a covered loss under the policy, or by ground

settlement, which was not a covered loss under the policy.

      Here, the parties do not dispute what caused the loss—fire caused the loss.

The only question here is the extent of the loss. As the Rogers court noted,

questions about the extent of loss fit squarely within insurance appraisal

provisions. Rogers, 984 So. 2d at 391. Travelers may not conflate causation or

coverage disputes with loss disputes as grounds to delay the submission of a claim

to appraisal. See Cole v. Owners Ins. Co., 326 F. Supp. 3d 1307, 1325 (N.D. Ala.


                                        23
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 24 of 32



2018) (“[F]ailing to distinguish between causation and value disputes would permit

parties to ‘approach every disagreement on extent of damage as a causation,

coverage[,] or liability issue’ so that ‘either party could defeat the other party’s

request by labeling a disagreement as a coverage dispute.”) (quoting Rogers, 984

So. 2d at 391) (brackets in Cole).

         e. Conclusion

      Having properly entered the appraisal process, Travelers had a contractual

obligation to complete the process. Because the Court finds as a matter of law that

Cobblestone did not fraudulently conceal material information from Travelers once

the appraisal process was underway, Travelers has not demonstrated as a matter of

law that its performance under the appraisal provision was excused.

              2. The Roof Claim
      Travelers repeats many of its arguments made with respect to the fire claim.

Travelers argues that Cobblestone failed to satisfy the policy’s conditions

precedent to coverage by not complying with requests for additional information,

opting instead to file a lawsuit. Travelers also argues that appraisal on the roof

claim was premature and/or inappropriate because questions of coverage and

causation existed and because Cobblestone failed to appoint an impartial appraiser

as required by the policy’s appraisal provision.




                                         24
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 25 of 32



      Cobblestone, on the other hand, argues that Travelers’s decision to inspect

only a limited number of roofs, based on the reasoning that 22 of the roofs were

replaced in 2009, evidences Travelers’s breach of contract and failure to act in

good faith. Cobblestone also argues that its demand for appraisal was entirely

legitimate based on the parties’ dispute concerning the extent of loss to the roofs,

and that no coverage or causation questions existed because hail and/or wind is a

covered loss under the policy. Finally, Cobblestone argues that it had no choice

but to file suit because Travelers was stalling on the roof claim and refused to

submit the claim to appraisal.

      Neither party is entitled to summary judgment on the breach of contract

claim as it relates to the roof loss. Travelers argues that “it did not find any

damage on any of the roofs that had been replaced in the 2009 claim.” (Doc. 49, p.

9). That is expected because Travelers did not inspect the entire property that was

the subject of the roof claim when it had the opportunity to do so. Travelers’s

adjuster, Brenton Von Kanel, testified that he did not inspect all of the roofs as part

of the 2015 claim based primarily on the fact that 22 of the roofs in the complex

were replaced in 2009 following a separate storm damage claim:

      So what we did, we took – we knew again, which roofs were replaced,
      you know, five or six years ago in the prior claim. And we knew
      which roofs weren’t [replaced]. So I knew that we were going to
      access – well, let me back up.



                                          25
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 26 of 32



      I guess my initial thought was we’ll look at all the roofs in that one
      day. As we went on throughout the day, due to the heat and that kind
      of thing, we accessed all the roofs that we knew were older and that
      were not replaced in that prior claim. And then based on, again, the –
      what we had seen, you know, from that wind event and how the newer
      roofs were undamaged, we made the decision to not inspect the
      remaining because, like I said, it didn’t appear that they would have
      been damaged, based on the event we were there to inspect.

(Doc. 50-8, p. 7, tr. pp. 20-21).

      Mr. Von Kanel’s notes concerning Cobbletone’s 2015 roof claim reveal that

his inspection largely was driven by the earlier 2009 claim. Mr. Von Kanel’s notes

contain 26 entries, identified as A – Z (presumably to reflect 26 buildings on the

Cobblestone property), and for each of the roofs replaced in 2009, his notes state

simply, “replaced roof, no damage found.” (See Doc. 46-11, pp. 25-26). Viewing

the evidence in the light most favorable to Cobblestone, for purposes of summary

judgment, the Court does not credit the “no damage found” statement in light of

Mr. Von Kanel’s testimony that he did not inspect all of the 26 roofs in the

complex. Cobblestone’s 2015 roof claim was made with respect to all of the roofs

in the complex, not just the older roofs that were not replaced in 2009.

      The fact that Travelers elected to conduct only a partial evaluation of the

loss undermines Travelers’s remaining arguments.          A reasonable jury could

conclude that in relying on a prior claim to estimate current damage, Travelers

breached the insurance policy.



                                         26
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 27 of 32



      Travelers’s argument that the roof claim involved questions of coverage and

causation is also without merit. Travelers does not dispute that wind/hail damage

is a covered loss under the policy or that wind and/or hail caused damage to at least

some of the roofs in the complex. As with the fire claim, the parties dispute the

extent of the loss, a dispute which an appraisal would resolve. Travelers argues

that it needed to conduct an additional engineering inspection and that Cobblestone

did not respond and instead filed a lawsuit.         But the record reflects that

Cobblestone did attempt to resolve the claim, and Travelers either ignored or

refused Cobblestone’s demand for appraisal. Viewing the evidence in the light

most favorable to Cobblestone in considering Travelers’s motion for summary

judgment, a reasonable jury could conclude that Travelers breached the contract by

failing to submit the roof claim to appraisal.

      A jury also could conclude that Cobblestone prematurely demanded

appraisal before the parties had time to fully evaluate the claim. Travelers paid the

initial estimate of roughly $17,238.55, as well as the adjusted estimate from

Superior Roofing in the amount of $121,280.00. Following receipt of the later

estimate prepared by The Howarth Group that exceeded $500,000, Travelers

requested an opportunity to have an engineer inspect the roofs.         Cobblestone

declined and opted to file suit. It is conceivable that given that opportunity,

Travelers would have adjusted its payment to Cobblestone. Unlike the fire claim


                                          27
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 28 of 32



in this case, the parties did not agree on what needed to be done to repair the roofs,

the parties had not each established valuations of the total loss, and the parties had

not signed a sworn agreement to submit the claim to appraisal. Viewing the facts

in the light most favorable to Travelers as the non-moving party on Cobblestone’s

motion for partial summary judgment, the Court finds that Cobblestone is not

entitled to judgment as a matter of law on the breach of contract claim as it relates

to the roof loss.

       Because genuine issues of material fact exist concerning Cobblestone’s

breach of contract claim as it relates to the roof loss, neither party is entitled to

summary judgment.

               3. Bad Faith Claim
       Travelers moves for summary judgment on Cobblestone’s bad faith claim,

arguing that no genuine issue of fact exists and that it is entitled to judgment as a

matter of law.      As evidence of bad faith, Cobblestone points to Travelers’s

withdrawal from appraisal on the fire claim and refusal to submit to appraisal on

the roof claim, and Travelers’s insufficient loss payment on both claims. (Doc. 1-

1, ¶¶ 16, 19-20). Cobblestone argues that Travelers has not identified a lawful

basis or debatable reason for its refusal to act in accordance with the policy’s terms

with respect to the fire and roof claims.




                                            28
       Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 29 of 32



      Under Alabama law, a plaintiff asserting a claim for bad faith failure to

investigate or pay an insurance claim must prove:

      (a) an insurance contract between the parties and a breach thereof by
      the defendant;
      (b) an intentional refusal to pay the insured’s claim;

      (c) the absence of any reasonably legitimate or arguable reason for
      that refusal (the absence of a debatable reason);

      (d) the insurer’s actual knowledge of the absence of any legitimate or
      arguable reason;
      (e) if the intentional failure to determine the existence of a lawful
      basis is relied upon, the plaintiff must prove the insurer’s intentional
      failure to determine whether there is a legitimate or arguable reason to
      refuse to pay the claim. In short, plaintiff must go beyond a mere
      showing of nonpayment and prove a bad faith nonpayment, a
      nonpayment without any reasonable ground for dispute. Or, stated
      differently, the plaintiff must show that the insurance company had no
      legal or factual defense to the insurance claim.

National Security Fire & Casualty Co. v. Bowen, 417 So. 2d 179, 183 (Ala. 1982).

      Travelers is entitled to summary judgment on Cobblestone’s bad faith claim

as it relates to the roof loss because Cobblestone has not established Travelers’s

breach of contract with respect to that loss as a matter of law. See Nilsen, 745 So.

2d 264, 269 (Ala. 1998) (insured cannot sustain bad faith claim in the absence of a

breach of contract); Ex parte Alfa Mut. Ins. Co., 799 So. 2d 957, 962 (Ala. 2001)

(“[A] breach of an insurance contract is an element of a bad-faith-refusal-to-pay

claim.”).



                                         29
      Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 30 of 32



      With respect to the fire loss, the Court has determined a contract existed

between the parties and that Travelers breached the contract by withdrawing from

appraisal. Thus, Cobblestone has satisfied the first element of its prima facie case.

Genuine issues of material fact exist with respect to the remaining elements of

Cobblestone’s bad faith claim. With regard to the second element (i.e. whether

Travelers intentionally denied the claim), Travelers argues that it did pay at least

some amount on the fire claim, and therefore, it did not deny the claim. At the

same time, Travelers argues that it did not pay any additional amount (vis-a-vis the

appraisal process) because Cobblestone did not satisfy its post-loss obligations.

These statements are incompatible. If Cobblestone did not meet its conditions

precedent to coverage, then it is unclear why Travelers paid any amount on the

claim. Travelers cannot have it both ways. Confronting a similar argument by the

insurer in Cole, supra, Chief Judge Bowdre noted:

      Owners [the insurer] appears to take inconsistent positions on whether
      it actually denied the Coles’ claims. Owners seems to say that,
      because of the Coles’ failure to meet the conditions precedent in the
      Policy, it could have denied coverage. But Owners also asserts that,
      despite its alleged non-obligation to provide coverage to the Coles, it
      did not exert its right to deny the claim. Essentially, Owners contends
      that it could have left the Coles’ claims open indefinitely, acting on
      the claims or not acting on the claims at its leisure.

326 F. Supp. 3d at 1330, n. 4.

      Here, Travelers acted in the same manner by providing a partial payment but

choosing to not pay an additional amount based on its insistence that Cobblestone
                                         30
          Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 31 of 32



did not satisfy its post-loss obligations. Travelers’s decision to not satisfy the

claim or to move a resolution forward via appraisal amounted to a denial of the

claim. The Alabama Supreme Court has recognized that a delay in payment may

constitute a denial of a claim even though the insurer has agreed to pay some

amount toward the claim. See Livingston v. Auto Owners Ins. Co., 582 So. 2d

1038, 1041-42 (Ala. 1991) (finding that insurer’s “investigative tactics” and delay

in paying the claim “amounted to a denial of the claim”).

      Factual questions also exist concerning whether Travelers had a legitimate

or arguable reason to deny additional payments on the fire claim, and whether

Travelers had actual knowledge of a legitimate or arguable reason to fail to pay

additional amounts on the claim or to refuse to submit the claim to appraisal. A

reasonable jury could infer based on the facts and circumstances of this case that

Travelers “engaged in a pattern of behavior to delay paying the claim and avoid

making a good faith investigation of it, including submitting [the claim] to

appraisal, a process that would have resulted in a final determination on the value

of the claim.” Cole, 326 F. Supp. at 1330. Because genuine issues of material fact

exist with respect to Cobblestone’s bad faith claim as it relates to the fire loss, the

Court will deny Travelers’s motion for summary judgment on this claim.

    II.     CONCLUSION

      In summary, the Court:


                                          31
Case 5:16-cv-00573-MHH Document 66 Filed 03/27/19 Page 32 of 32



(1) denies Travelers’s motion for summary judgment on
Cobblestone’s breach of contract claim with respect to the fire and
roof losses.

(2) denies Travelers’s motion for summary judgment on
Cobblestone’s bad faith claim as it relates to the fire loss and grants
the motion as it relates to the roof loss.

(3) grants Cobblestone’s motion for partial summary on its breach of
contract claim with respect to the fire loss and denies the motion with
respect to the roof loss.

The Court will issue a pre-trial order.

DONE and ORDERED this March 27, 2019.


                              _________________________________
                              MADELINE HUGHES HAIKALA
                              UNITED STATES DISTRICT JUDGE




                                   32
